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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
PEDRO LOPEZ, et al. )
)
Plaintiffs, ) CIVIL ACTION

) NO. 07-11693-ILT
v. )
}
CITY OF LAWRENCE, et al. )
}
Defendants. )
__)

STIPULATION AND ORDER

FOR THE PROTECTION OF CONFIDENTIAL MATERIAL

By the request and consent of the parties in the above-captioned action, and for good
cause shown, the Court hereby enters this Protective Order, pursuant tc Rule 26(c)} of the Federal
Rules of Civil Procedure, for the purpose of protecting confidential material associated with
examinations utilized for making promotional appointments within those municipal police forces
governed by the civil service laws of the Commonweaith of Massachusetts.

1. Definitions. As used herein, the quoted words and phrases shall have the
following meanings:

a. "Party" means any plaintiff or defendant in the above-captioned action.

b. "Independent Expert” means any person consulted by a party in connection with
the prosecution, defense, and/or appeal of the above-captioned action.

c. "Confidential Material" means documents and things that have been designated
by the producing party with a "Confidential" stamp, including but not limited to
documents which constitute or evidence: (1) the contents of examinations
proposed for use or actually used for making promotional appointments within
any municipal police force in the Commonwealth of Massachusetts, (2) the
methodology by which such examinations are devised or scored, (3) the scores on
such examinations achieved by examination-takers, (4) appeals taken from the
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scoring of examination answers, (5) any individual’s personnel records, and

(6) any record that is not a “public record” as defined in clause Twenty-sixth of
section seven of chapter four of the Massachusetts General Laws. The identity of
police chiefs who have participated in the examination-creation process as subject
matter experts shall also be deemed “Confidential Material.”

2. Persons to Whom Confidential Material May Be Disclosed. Except with the

prior consent of the producing party or upon further order of the Court, Confidential Material

shail be disclosed only to:

a. Counsel of record in this action;

b, Stenographers transcribing the testimony or argument at a deposition, hearing, or
trial;

C. A deponent during the course of his or her deposition;

d. independent experts retained by counsel for the receiving party; provided,

however, that no Confidential Material shall be disclosed to such experts until the
conditions detailed in paragraph 3 have been met;

€. Secretaries, paralegals, clerical, and other employees of the individuals identified
in subparagraphs (a)-(d) above, to the extent reasonably necessary to render
professional legal services in the litigation; and
f The Court, as provided in this Stipuiation and Order.
Unless otherwise ordered by the Court, the producing party may limit, for good cause,
dissemination of Confidential Material to a subset of the above-listed persons.
3, Conditioning Disclosure, Confidential Material may be disclosed to a person
listed in paragraphs 2(b)-(d) only if such person has executed an acknowledgement in the form
attached hereto as Exhibit A that s/he has read this Stipulation and Order and agrees to be bound

thereby.

4, Redaction of Confidential Information Regarding Non-Parties, Nothing in

this Stipulation and Protective Order shall be construed to preclude a producing party from
redacting from origina] documents or data compilations any information, data, or other material

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that directly relates to a specifically named, non-party individual if the disclosure of such
materia! would constitute an unwarranted invasion of personal privacy or the material otherwise
constitutes “personal data” as that term is employed in Mass. Gen. Laws c. 66A, § 1. Unless the
data subject approves the disclosure of protected personal data, such data shall not be released
without the data subject first having been notified of any demand made, by means of compulsory
legal process or otherwise, in reasonable time such that the data subject may seek to have the
demand quashed,

5. Making Copies of Confidential Material. No copies of Confidential Material

shall be made except as is reasonably necessary to carry out this litigation, All copies of
Confidential Material shall remain within ihe possession of those entitled to have access to
Confidential Material under Paragraph 2 of this Stipulation and Order.

6. Protecting Confidential Material at Depositions. No person may refuse to

answer any questions at a deposition on the sole ground that the question requires the person to
revea! Confidential Materiai. Depositions shall proceed upon the following basis: Prior to
questioning or testimony that discloses Confidential Material, all persons present shal] be
advised of the terms and conditions of this Stipulation and Order and jointly requested to abide
thereby. At ihe request of a party, all persons not authorized to receive Confidential Material
under this Stipulation and Order shali leave the room during the time in which such Confidential
Material is disclosed or discussed. Information disclosed at depositions may be designated as
Confidential Material by indicating on the record at the deposition the portion of the testimony
that contains Confidential Material, or within sixty (60) days after receipt of the deposition
transcript, by notifying counsel for all parties, in writing, indicating the specific pages and fines

of the transcript that contain Confidential Material. So designated, Confidential! Materia!
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contained in deposition transcripts shall be subject to this Stipulation and Order to the same
extent es all other Confidential Materiai.

7. Use of Confidential Material

a. Limited to Use in this Action. No party or agent thereof shall be permitted to
make use of any Confidential Material received pursuant to this Stipulation and Order in any
other forum or action unless (i) the Confidential Material to be used elsewhere is derived from an
independent source, (ii) by written agreement of the producing party, or (iii) pursuant to court
order.

b. At Trial and in Court Filings: \{ any party intends to disclose Confidential
Material at trial, or in a pleading, motion, deposition, transcript, or other paper filed with this
Court, such party shall provide advance notice to the producing party sufficient to permit the
parties to consult as to how to proceed under Local Rule 7.2.

&. Return of Confidential Material, The termination of proceedings in this action

shail not relieve the persons described in paragraph 2 above from the obligation of maintaining
the confidentiality of all Confidential Material received pursuant to this Stipulation and Order,
unless the Court orders or permits otherwise. At the conclusion of the case, each party may
request the return of all Confidential Material previously furnished by such party to another
party, and each such receiving party shall be obligated to return such Confidential Material
within a reasonable time period, not to exceed thirty (30) days. Each original recipient of the
Confidential Material shall be responsible for securing and returning, within this same time
period, any and all extant copies of Confidential Material that s/he allowed to be made.

G. Procedure for Eliminating Confidential Status. If any party believes that a

document or thing otherwise subject to this Stipulation and Order should not be treated as
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Confidential Material, the party shall identify, in writing, within 60 days of receipt, the material
that it believes should not be deemed confidential. If such notice does not result in agreement,
the party may, by motion, seek an order of this Court lifting confidential status for such material.
All such material shall continue to have confidential status during the pendency of any motion to
determine its confidential status.

10. Right to Seek Modification. Although this Stipulation and Order has been

entered by joint motion of the parties, it shall not constitute a contract between the parties that
prevents a modification of this Stipulation and Order or the establishment of additional
protection with respect to the confidentiality of discovery material. Upon a showing of good
cause, the Court shall have the power to make any modification hereof which justice may
require.

11. Care of Confidential Material. Each party shall take reasonable precautions to

prevent the unauthorized or inadvertent disclosure of any Confidential Material. Each person
receiving Confidential Materia! shall first be advised by the appropriate party of the terms of this
Stipulation and Order.

12. Subpoena by Other Court or Agency, If Confidential Material received in

discovery from a party becomes subject to the process or order of any other court or
administrative agency, the recipient of such process or order shall promptly notify the producing

party of the pendency of such process or order.
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Agreed to on the 21“ day of December 2007 and subscribed to this day of January 2008.

/s/ Robert L. Quinan, Jr.

Robert L. Quinan, Jr.

Assistant Attorney General
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EXHIBIT A

T have been designated by as a person who may have
access to Confidential Material as this term is defined in the Stipulation and Order entered by the
Court in Lopez, et al. y. City of Lawrence, et al., U.S. District Ct. (Mass.} Docket Ne. 07-11693-
JLT. [have read that Stipulation and Order. [ understand that I wil! be bound by the terms of
that Stipulation and Order with respect to all Confidential Material, as defined in the Stipulation
and Order, and [ agree to comply fully with the terms of the Stipulation and Order.

Signed under the pains and penalties of perjury on this day of 206

[Recipient of Confidential Material}
